                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                        )
                                                )        Case No. 1:15-cr-123
v.                                              )
                                                )        Judge Travis R. McDonough
RANDY BORN                                      )
                                                )        Magistrate Judge Susan K. Lee
                                                )


                                             ORDER



       Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Count One of the

eight-count Indictment; (2) accept Defendant’s guilty plea as to the lesser included offense of the

charge in Count One of the Indictment, that is of conspiracy to distribute and possess with intent

to distribute a mixture and substance containing methamphetamine, a Schedule II controlled

substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (3) adjudicate the

Defendant guilty of lesser included offense of the charge in Count One of the Indictment, that is

of conspiracy to distribute and possess with intent to distribute a mixture and substance

containing methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C.

§§ 846, 841(a)(1), and 841(b)(1)(C); (4) defer a decision on whether to accept the plea

agreement until sentencing; and (5) order that Defendant remain in custody until sentencing in

this matter. (Doc. 71.) Neither party filed a timely objection to the report and recommendation.

After reviewing the record, the Court agrees with Magistrate Judge Lee’s report and

recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s




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report and recommendation (Doc. 71) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

follows:

   1. Defendant’s motion to withdraw his not guilty plea as to lesser included offense of the

       charge in Count One of the Indictment, that is of conspiracy to distribute and possess

       with intent to distribute a mixture and substance containing methamphetamine, a

       Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

       841(b)(1)(C) of the Indictment is GRANTED;

   2. Defendant’s plea of guilty to lesser included offense of the charge in Count One of the

       Indictment, that is of conspiracy to distribute and possess with intent to distribute a

       mixture and substance containing methamphetamine, a Schedule II controlled substance,

       in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) is ACCEPTED;

   3. Defendant is hereby ADJUDGED guilty of lesser included offense of the charge in

       Count One of the Indictment, that is of conspiracy to distribute and possess with intent to

       distribute a mixture and substance containing methamphetamine, a Schedule II controlled

       substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C);

   4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

   5. Defendant SHALL REMAIN in custody until sentencing in this matter which is

       scheduled to take place on June 16, 2017, at 9:00 a.m. [EASTERN] before the

       undersigned.

   SO ORDERED.

                                              /s/Travis R. McDonough
                                              TRAVIS R. MCDONOUGH
                                              UNITED STATES DISTRICT JUDGE




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